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Attorneys for Defendants
ABNER GAURINO, AURORA GAURINO
and ABIGAIL GAURINO

                  IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAI‘I

ATOOI ALOHA, LLC, an[sic] Nevada      )    Civil No. 16-00347 JMS - RLP
Limited Liability Company, CRAIG B.   )
STANLEY, as TRUSTEE for THE           )    SUMMONS
EDMON KELLER AND CLEAVETTE            )
MAE STANLEY FAMILY TRUST;             )
CRAIG B. STANLEY, individually;       )
MILLICENT ANDRADE, individually,      )
                                      )
                    Plaintiffs,       )
                                      )
            vs.                       )
                                      )
ABNER GAURINO, AURORA                 )
GAURINO, ABIGAIL GAURINO,             )
INVESTORS FUNDING                     )
CORPORATION, as Trustee for an        )     (Caption continued on next page)
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unrecorded Loan Participation          )
Agreement dated June 30, 2014;         )
APT-320, LLC, a Hawai‘i Limited        )
Liability Company, CRISTETA C.         )
OWAN, an individual; ROMMEL            )
GUZMAN; FIDELITY NATIONAL              )
TITLE & ESCROW OF HAWAI‘I and          )
DOES 1-100 Inclusive,                  )
                                       )
                  Defendants.          )
                                       )
                                       )
ABNER GAURINO, AURORA                  )
GAURINO AND ABIGAIL                    )
GAURINO,                               )
                                       )
            Third Party Plaintiffs,    )
                                       )
            vs.                        )
                                       )
BEVERLY G. ALVAREZ, Individually )
and doing business as Westrend Realty, )
VERLIN LIM SANCIANGCO AND              )
WESTREND REALTY, INC., a               )
California Corporation,                )
                                       )
            Third Party Defendants.    )
                                       )

                                  SUMMONS

            VERLIN LIM SANCIANGCO, YOU ARE HEREBY summoned
and required to file with the court and serve upon Third Party Plaintiffs ABNER
GAURINO, AURORA GAURINO AND ABIGAIL GAURINO’s counsel, John R.
Remis, Jr. and Robert D. Eheler, Jr., 1003 Bishop Street, Suite 2700, Honolulu,


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Hawai‘i 96813, an Answer to the Third Party Complaint within 21 days after
service of this summons upon you (not counting the day you received it) – or 60
days if you are the United States or a United States agency, or an officer or
employee of the United States described in Fed. R. Civ. P. 12(a)(1)(a)(i). If you
fail to file an answer within the 21 day limit, judgment by default will be taken
against you for the relief demanded.
         This summons shall not be personally delivered between 10:00 p.m. and
6:00 a.m. on premises not open to the general public, unless a judge of the above-
entitled court permits, in writing on this summons, personal delivery during those
hours.
         A failure to obey this summons may result in an entry of default and default
judgment against the disobeying person or party.
         Dated: Honolulu, Hawai‘i,                              .



                                                     CLERK OF THE COURT




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